     Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 1 of 13            FILED
                                                                      2007 Nov-01 PM 03:58
                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION

DANIEL W. THOMPSON et al.,    }
                              }
     Plaintiffs,              }
                              }         CIVIL ACTION NO.
v.                            }         06-AR-0883-S
                              }
THE UNITED STATES OF AMERICA, }
                              }
     Defendant.               }


                   MEMORANDUM OPINION AND ORDER

     Before the court could rule on the motion of plaintiffs,

Daniel W. Thompson and Linda G. Thompson (“the Thompsons”), to tax

costs against defendant, the United States of America (“the United

States”), the parties entered a stipulation for taxation of costs

for an amount less than the Thompsons had requested in their

motion. Strangely, the Thompsons did not petition for attorneys

fees. The court invited the United States to respond to the

Thompsons’ motion by explaining why its position was substantially

justified. Instead, the United States wisely chose to settle the

matter. Nevertheless, the court feels compelled to state its

reasons for believing that the position of the United States was

not substantially justified with respect to the burden of proof at

trial, so that the Thompsons’ motion would have been granted. The

issue is sufficiently important to justify an opinion even if the

United States would prefer otherwise.

     The Thompsons filed suit against the United States on May 5,

                                   1
        Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 2 of 13



2006, seeking a refund of taxes paid for the tax years 1993 through

1998 in connection with their horse breeding, training, and showing

operation known as “White Oak Ranch.” On their tax returns for each

of the years in question, the Thompsons claimed “farming activity”

business losses on their Schedule F forms. Between 2002 and 2003,

the United States assessed $41,962.00 in past due federal income

taxes    and   $35,088.00    in   interest       and   penalties     against   the

Thompsons. The United States’ demand for payment was based on its

contention that White Oak Ranch was an expensive hobby, not a for-

profit business. After paying $77,050.00 in claimed back taxes,

interest and penalties, the Thompsons filed a claim for refund with

the IRS and subsequently filed this action. On September 27, 2007,

in accordance with a jury’s verdict that the Thompsons are entitled

to a full refund, the court entered final judgement in favor of the

Thompsons for $77,050.00 plus interest.

     26 U.S.C. § 7430(a)(2) provides that the “prevailing party” in

a tax refund case brought against the United States may be awarded

a judgment for “reasonable litigation costs incurred in connection

with such court proceeding.” However, “[a] party shall not be

treated as the prevailing party . . . if the United States

establishes     that   the   position       of   the   United   States   in    the

proceeding      was    substantially         justified.”        26    U.S.C.    §

7430(c)(4)(B)(i). “A position that is ‘substantially justified’ is

one that is justified to a reasonable degree that could satisfy a


                                        2
     Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 3 of 13



reasonable person or that has a reasonable basis in both law and

fact.” Wilkes v. United States, 289 F.3d 684, 688 (11th Cir. 2002).

The “position of the United States” is the government’s “in-court

litigating position.” Ewing & Thomas, P.A. v. Heye, 803 F.2d 613,

615 (11th Cir. 1986); see also Autrey v. United States, 889 F.2d

973, 989 (11th Cir. 1989) (noting that “the ‘position’ of which the

reasonableness must be judged is solely that taken in the civil

litigation”). As the language of the statute makes clear, the

United States bears the burden of proving that its position was

substantially justified.

     In this case, the burden of proof was an issue of central

importance and considerable disagreement between the parties. The

Eleventh Circuit pattern jury instruction for tax refund suits

where the primary issue is whether a particular activity is a

business or hobby states, “[t]he Government has the burden of proof

on this issue and must persuade [the jury], by a preponderance of

the evidence, of the correctness of its position.” ELEVENTH CIRCUIT

PATTERN JURY INSTRUCTIONS : CIVIL 10.4 (2005). Quarreling with this

pattern instruction, the United States filed a motion in limine

arguing, inter alia, that the pattern instruction is incorrect

because it improperly places the burden of proof on the United

States. In support of its argument, the United States cited one

Supreme Court case, United States v. Janis, 428 U.S. 433 (1976),

and one statute, 26 U.S.C. § 183(d). In its opposition to the


                                   3
          Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 4 of 13



United States’ motion in limine, the Thompsons pointed out that the

Eleventh Circuit pattern instruction is supported by 26 U.S.C. §

7491, which shifts the burden of proof to the government after the

taxpayer, among other things, introduces “credible evidence with

respect to any factual issue.” The court reserved judgment on the

burden of proof issue until both parties had rested and all

evidence had been received.

      As expected, the parties’ submitted conflicting proposed jury

instructions on the burden of proof issue. The Thompsons’ proposed

jury instruction tracked the language of § 7491(a)(1); however, the

United States’ proposed instruction was based exclusively on §

183(d). The parties’ dispute on this issue boiled down to a

question of which statute supplies the proper burden of proof rule,

§ 7491 or § 183. In the court’s judgment, the United States failed

to appreciate the existence and importance of § 7491 and, in so

doing, adopted an unreasonable and indefensible position that was

not substantially justified.

      Before the enactment of § 7491 in 1998, the burden of proof in

a tax refund suit was generally on the taxpayer.1 In United States

v.   Janis, 428 U.S. at 440, a case cited repeatedly by the United

States, the Supreme Court noted that “[i]n a refund suit[,] the

taxpayer bears the burden of proving the amount he is entitled to



      1
       Even after the enactment of § 7491, the burden of proof is still
initially on the taxpayer.

                                        4
     Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 5 of 13



recover.” See also Helvering v. Taylor, 293 U.S. 507, 514-15 (1935)

(“Unquestionably the burden of proof is on the taxpayer to show

that the Commissioner’s determination is invalid.”); Lewis v.

Reynolds, 284 U.S. 281, 283 (1932) (“The action to recover on a

claim for refund is in the nature of an action for money had and

received and it is incumbent upon the claimant to show that the

United States has money which belongs to him.”); Mays v. United

States, 763 F.2d 1295, 1297 (11th Cir. 1985) (“[T]he burden of

proof is on the taxpayer to show that the Commissioner’s findings

were erroneous.”). Indeed, as noted by the Court of Federal Claims

in Cook v. United States, 46 Fed. Cl. 110, 116 n.15 (Fed. Cl.

2000), the rule placing the burden of proof on the taxpayer may

have had its “genesis as early as 1836, when the Supreme Court

recognized the existence of a right of action against a Collector

of Customs for a refund of duties illegally assessed and paid under

protest.” (citing Elliot v. Swartwout, 35 U.S. (10 Pet.) 137

(1836)).   Therefore, it is clear that the rule placing the burden

of proof on the taxpayer in a tax refund suit has a firm foundation

in federal jurisprudence. In other words, if § 7491 did not exist,

the position taken by the United States with respect to the burden

of proof in this case would have been entirely justified.

     As    exemplified   by   its   proposed   burden   of   proof    jury

instruction, the United States argued that the Thompsons could only

shift the burden to proof to the United States if they met the


                                    5
            Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 6 of 13



requirements of § 183(d), which provides for a presumption of

profitability if certain conditions are met. Specifically, as it

relates to horse operations, § 183(d) provides that if the gross

income derived from the horse activity for at least 2 out of 7

consecutive taxable years exceeds the deductions, the activity

shall be presumed to be engaged in for profit unless the United

States establishes to the contrary. There is some pre-§ 7491

authority to suggest that § 183(d) acts to shift the burden of

proof        to   the   United   States   if   the   taxpayer   can   satisfy    its

requirements. See Falconer v. United States, 748 F.2d 890, 894 (4th

Cir. 1984) (“Once the taxpayer has established that the requisite

number of profit years has been met, the burden of proof shifts to

the Secretary to ‘establish to the contrary.’”). But see Moore v.

C.I.R., 85 T.C. 72, 113 (T.C. 1985) (noting that § 183(d) does not

function to shift the burden of proof). However, § 183(d) does not

create a burden of proof; it only functions, arguably, to shift the

common law burden of proof recognized in Janis from the taxpayer to

the United States. Therefore, if a statute is enacted, as § 7491

was   in       1998,    that   provides   taxpayers    with   another   method   of

shifting the burden of proof to the government, a taxpayer can

succeed in shifting the burden of proof despite failing to meet the

requirements of § 183(d).2


        2
       For purposes of deciding whether the United States’ position was
substantially justified, the court is not required to determine whether §
183(d)’s putative burden-shifting function survives the enactment of § 7491.

                                           6
      Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 7 of 13



       In the Internal Revenue Service Restructuring and Reform Act

of 1998, Pub. L. No. 105-206, § 3001(a), 112 Stat. 685, 726-27

(1998)   (“the   Act”),   Congress    explicitly    undertook    to   provide

taxpayers with a statutory escape hatch from the long-standing

common law burden of proof rule. See H.R. REP . NO . 105-599, at 238

(1998) (Conf. Rep.) (noting that the presumption of IRS correctness

and accompanying burden of proof on the taxpayer under present law

is “judicially based”). Specifically, the Act provides, in language

now codified in § 7491, that if a taxpayer “introduces credible

evidence with respect to any factual issue relevant to ascertaining

the liability of the taxpayer for any tax imposed . . . the

Secretary shall have the burden of proof with respect to that

issue.” Pub. L. No. 105-206, § 3001(a). Therefore, the Act provides

a new set of burden of proof rules for court proceedings involving

tax examinations commencing after the Act’s July 22, 1998 date of

enactment. See H.R. REP . NO . 105-599, at 241. Under the new burden

of proof regime, a taxpayer in a tax refund case can both shift the

burden of proof to the United States by meeting the requirements of

§ 7491 and gain a presumption of profitability by meeting the

requirements of § 183(d).

      The United States’ position at trial that Janis and § 183(d)

exclusively supplied the burden of proof rules in this case was not



However, the court notes that a taxpayer cannot succeed in establishing a
presumption of profitability under § 183(d) without also, in so doing,
introducing “credible evidence” under § 7491(a)(1).

                                      7
       Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 8 of 13



reasonable and cannot be justified in light of the plain language

of § 7491 and precedent recognizing its effect. See, e.g., Thompson

v. C.I.R., 499 F.3d 129, 133 (2nd Cir. 2007) (noting that § 7491

“reallocated” the burden of proof); Interex, Inc. v. C.I.R.,321

F.3d 55, 58 (1st Cir. 2003) (noting that the burden shifts to the

government once a taxpayer introduces credible evidence); Bone v.

C.I.R., 324 F.3d 1289, 1293 n.5 (11th Cir. 2003) (recognizing that

§ 7491 shifts the burden of proof to the United States under

certain circumstances).

       Even though the United States never cited § 7491 in its motion

in limine or its proposed burden of proof jury instruction, it did

seek to mitigate its impact during the jury charge conference.

Specifically, the United States argued that § 7491(a)(1) does not

apply to this case because § 183(d) provides a more specific burden

of proof rule. This argument is based on § 7491(a)(3), which

provides that § 7491's general burden of proof rule (the credible

evidence rule) shall not apply if some other provision of the title

“provides for a specific burden of proof with respect to such

issue.” As explained above, the United States’ argument that §

183(d) provides a burden of proof has no foundation in the plain

language of § 183(d) or its precedent. The long-standing rule

placing the burden of proof on the taxpayer is a creature of common

law,   not   a   statute.   The   United   States’   position   is   further

undermined by the fact that the Internal Revenue Code contains


                                      8
     Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 9 of 13



numerous provisions that provide for specific burden of proof rules

by actually using the phrase “burden of proof.” See, e.g., 26

U.S.C.   §    7454(a)   (fraud);    26       U.S.C.   §    6902(a)        (transferee

liability); 26 U.S.C. § 162(c)(1) (illegal payments to government

officials); 26 U.S.C. § 280G(b)(2)(B) (golden parachute payments);

26 U.S.C. § 877(f) (expatriation). Suffice it to say, Congress

knows how to use the phrase “burden of proof” if it desires to

create a specific rule. In any event, § 183(d) is, at best, a

burden-shifting statute, not a burden-creating statute. Thus, §

183(d) does not fall within the § 7491(a)(3) exception.

     The United States also argued that even if § 7491(a)(1) does

apply, the jury should decide whether the Thompsons introduced

sufficient credible evidence to shift the burden of proof. While it

is true that credibility determinations should ordinarily be made

by the jury as the trier of fact, § 7491's legislative history

suggests     that   Congress   merely    intended     to    place     a    burden   of

production on the plaintiff taxpayer. Specifically, the conference

committee     noted   that   “[c]redible       evidence    is   the       quality   of

evidence which, after critical analysis, the court would find

sufficient upon which to base a decision on the issue if no

contrary evidence were submitted (without regard to the judicial

presumption of IRS correctness).” H.R. REP . NO . 105-599 at 240-41

(emphasis added); see also Griffin v. C.I.R., 315 F.3d 1017, 1021

(8th Cir. 2003) (adopting the definition of “credible evidence”


                                         9
     Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 10 of 13



contained in the conference report). The conference report goes on

to note the following:

     A taxpayer has not produced credible evidence for these
     purposes if the taxpayer merely makes implausible factual
     assertions, frivolous claims, or tax protestor-type
     arguments. The introduction of evidence will not meet
     this standard if the court is not convinced that it is
     worthy of belief. If after evidence from both sides, the
     court believes that the evidence is equally balanced, the
     court shall find that the Secretary has not sustained his
     burden of proof.

H.R. REP . NO. 105-599 at 241 (emphasis added). This language

suggests   that   the     burden       placed     on   the    taxpayer   is     not

particularly onerous. In other words, once the court determines

that the taxpayer’s evidence, when viewed in isolation, amounts to

something more than “implausible factual assertions, frivolous

claims, or tax protestor-type arguments,” the burden of proof

shifts to the United States. See Blodgett v. C.I.R., 394 F.3d

1030, 1035 (8th Cir. 2005) (noting that “[t]he question of whether

a taxpayer produced evidence sufficient to shift the burden of

proof to the [United States] under 26 U.S.C. § 7491 is a legal

one”). Indeed, the IRS’s own Internal Revenue Manual notes that §

7491(a) places “the burden of production on the taxpayer” but, if

the burden of production is met, shifts the burden of proof to the

United States to show that its assessment of tax liability is

correct.   INTERNAL     REVENUE    MANUAL     §   8.6.1.3.5,      available      at

http://www.irs.gov/irm/part8/ch05s01.html.

     The   position     taken     by    the     Internal     Revenue   Manual    is


                                        10
      Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 11 of 13



consistent with the annotation that follows Eleventh Circuit

Pattern Jury Instruction: Civil 10.1, which notes as follows:

      The Internal Revenue Service Restructuring and Reform Act
      of 1998, Pub. L. 105-206, effective July 22, 1998,
      amended 26 USC § 7491 to provide that in any court
      proceeding, and subject to certain stated conditions,
      when “a taxpayer introduces credible evidence with
      respect to any factual issue … the Secretary shall have
      the burden of proof with respect to such issue.” 26 USC
      § 7491(a)(1). This instruction has been formulated on the
      assumption that the preliminary burden shifting decision
      as to whether “credible evidence” has been produced by
      the Plaintiff is a decision that will be made by the
      Court, not the jury. Otherwise, the Court will have
      entered judgment against the Plaintiff as a matter of law
      pursuant to Federal Rule of Civil Procedure 50. In terms
      of trial procedure, the Plaintiff should probably be
      required to go forward first in making opening statement
      and presenting evidence. Then, if the Plaintiff's case
      survives a Rule 50 motion, the Defendant will take on the
      burden of persuasion and should proceed with the
      evidence. The Defendant, arguably, should also gain the
      right to open and close the jury arguments, and the jury
      should then be instructed, simply, that the Defendant has
      the burden of proof.

In   other   words,   a   taxpayer    who   has   provided   sufficient

evidence to allow a reasonable jury to find in his or her

favor will have met the § 7491(a)(1) burden of production by

having introduced “credible evidence.” At trial, the Thompsons

easily survived the United States’ Rule 50 motion for judgment

as a matter of law. Accordingly, the Thompsons met their

burden of production and effectively shifted the burden of

proof to the United States, as the court instructed the jury

before closing arguments. In short, the court followed the

procedure outlined by the annotation to Eleventh Circuit

                                     11
      Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 12 of 13



Pattern   Instruction    10.1,     which    is   consistent   with    the

relevant statutory language, legislative history, and the

IRS’s own published guidance.

      In accordance with the foregoing, the court finds that

the   United   States’   position    during      this   litigation   with

respect   to   the   burden   of    proof     was   not   substantially

justified. As explained above, the court’s finding is based on

the United States’ totally unreasonable interpretation of the

relevant statutes. See Wilkes, 289 F.3d at 688-89 (affirming

district court’s decision to award attorney fees to plaintiff

on the basis that the government’s interpretation of relevant

tax statute was not “substantially justified” given clear

language of statute, even though the statutory construction

issue was one of first impression, as it is in the instant

case); In re Rasbury, 24 F.3d at 168 (upholding district

court’s decision to deny motion to award costs and attorney

fees on the basis that the government’s position with respect

to the burden of proof was “substantially justified”).

                           Conclusion

      For the foregoing reasons, the Thompsons’ motion to tax

costs would have been granted if the matter had not been

settled before this opinion had been rendered. In accordance

with the parties’ stipulation, costs are taxed against the

United States in the amount of $3,617.00.

                                   12
Case 2:06-cv-00883-WMA Document 36 Filed 11/01/07 Page 13 of 13



DONE this 1st day of November, 2007.




                            _______________________ _____
                            WILLIAM M. ACKER, JR.
                            UNITED STATES DISTRICT JUDGE




                           13
